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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                    ECF CASE

                                              NOTICE OF APPEARANCE AND REQUEST
                    v.                        FOR ELECTRONIC NOTIFICATION

 ERIC ADAMS,                                  24 Cr. 556 (DEH)

                               Defendant.



TO:    Clerk of Court
       United States District Court
       Southern District of New York

       The undersigned attorney respectfully requests the Clerk to note his appearance in this case

and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted.



                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney for the
                                                    Southern District of New York

                                                    By: _/s/ Derek Wikstrom________________
                                                       Derek Wikstrom
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